Case 2:16-cV-03799-D.]H Document 25 Filed 01/30/17 Pag§”lr oi;gw w
IN THE UNITED STATES DISTRICT COURT §

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FoR THE DISTRICT oF ARIZoNA §_w FMENEU
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H K B, lnc.l an Arizona cor oration, etc., et a|., §
p § JAN a a 2017

P'“§"tiff§s)/Pemi°“°r(§)’ CASE No: 21§6'°"'03799'DJH § z;;i,aa;»< n a niateict collar
vs' t j i')ia"inicr or ian:z\::‘vn§_lw 5
Board of Trustees for the Carpenters Southwest Trusts, Application of Attorney For Admi§sii§dirTo~Practice'Pro“H'aq “§§~' § `§7 l
etc. et a|., Vice Pursuant to LRCiv 83.1(b)(2)

Defendant(s)/Respondent(s)

NOTICE: $35.00 APPLICATION FEE REQUIRED!
I, Thomas L' Davis , hereby apply to the Court under LRCiv 83.l(b)(2) for pro hac vice

 

admission to appear and practice in this action on behalf of Carpenters SOuthW@St Administrative COrPOl`atj-On.
and Board of Trustees for the Carpenters Southwest Trusts

Rancho Pa|os Verdes, Ca|ifornia

 

City and State of Principal Residence:
DeCar|o & Shan|ey, a Professiona| corporation

 

Firm Name:
Address: 533 S. FremontAvenue Suite: gth Floor

 

 

City= LOS Angeles State: cA Zip: 90071~1706
( 213 ) 488-4100

 

Firm/Business Phone:

 

Firm Fax Phonez (213 ) 488-4180 E_mail Address: tdavis@deconsel.com

 

 

l am admitted to practice before the following courts. (attach additional sheets if necessary)
TITLE OF COURT DATE OF ADMISSION IN GOOD STANDING?
United States District Court, Centra| District of Ca|ifornia 08/30/2000 -Yes m No*

E]Yes g No*
EYes § No*

 

 

 

* Explain:

(An Original Certificate of Good Standing froma FEDERAL BAR in which an applicant has been adnitted dated no more than 45 days
prior to submission of this application is required.)

l have concurrently, or within l year of this application, made pro hac vice applications to this Court in the following actions (attach
additional sheets if necessaiy):

Case Number Title of Action Date Granted or Denied*

 

 

 

* Explain:
ALL APPLICANTS ARE REQUIRED TO ANSWER THE FOLLOWING QUESTIONS.
lf you answer YES to either of the following questions, please explain all circumstances on a separate age. _M
Are you currently the subject of a disciplinary investigation or proceeding by any Bar or Court‘? Yes No

Have you ever been disbarred from practice in any Court? [:l Yes No
l declare under penalty of perjury that the foregoing is trucand correct; that l am not a resident of, nor anI regularly employed, engaged in business, professional
or other activities in the State ofAriz)na; and that I am not currently suspended, disbarred or subject to disciplinary proceedings in any court. I certify that I y
have read and will ascribe to the Standards for Professional Conduct, will comply with the Rules of Practice of the United States District Court for the
District ofArizona (“Local Rubs”), and will subscribe to receive court notices as required by LRCiv 83.l(c).

 

 

January 25, 2017 Oz¢\ L /Tnomas L. Da\/is
Date _ Signature of Applicant
Fee Receipt # ___ ,, (Rev. 04/12)

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United States District Court

Central District of California

CERTIFICATE OF
GOOD STANDING

 

I, KIRY K. GRAY, Clerk of this Court, certify that

Thomas L. Davis , Bal’ NO- 202382

 

 

Was duly admitted to practice in this Court on AllgllSt 3001, 2000

 

DA TE

and is active and in good standing as a member of the Bar

of this Court.

Dated at Los Angeles, California

on ]anuary llth, 2017

Date

 

 

KIRY K. GRAY
Clerk of Court
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s BY Z<§§</@WQ§<Q/
§ Andrea Kannil<e , Deputy Clerk

 

 

G‘52 (10/15) CERTIFICATE OF GOOD STANDING

